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COMPLAINT EXHIBIT A
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CUSTOMS AND BORDER PROTECTION
Notice of Detention

Detention Number: 1750208
Port Code: 2809 Port Name: San Francisco

Date of Detention: 02/09/2021 Entry Number: 808-21003730
Broker/Importer: Virtus Nutrition, LLC

Description of Merchandise: Palm Fatty Acid Distillate

Reason for Detention: Withhold Release of Palm Oil and Palm Oil Products Produced by Sime

Darby Plantation Berhad.

This merchandise is subject to a Withhold Release Order signed by the Commissioner, or delegated

official, on December 30, 2020 and is detained pursuant to 19 C.F.R. § 12.42(e). You have the following

options:

1, Export the goods to any location outside the United States (under CBP supervision) pursuant to 19
C.F.R, § 12.44(a); or

2. Contend that the goods were not produced with forced labor by submitting the documentation/proof
required by 19 C.F.R. § 12.43. This can be done at any time during the review process.

a, Certificate of Origin signed by the foreign seller required by 19 C.F.R. § 12.43(a), which may
be submitted in electronic form, and
b. A detailed statement from the importer, as outlined in 19 C.F.R. §12.43(b).

Guidance Concerning the Certificate of Origin:

« A standard Certificate of Origin is not acceptable. The required format for the certificate of origin is
detailed in 19 C.F.R. § 12.43(a). This paragraph includes the exact wording of the certificate that
should be signed by the seller/manufacturer.

« The statement required by 19 C.F.R. § 12.43(b) should be submitted by the importer, not the seller.
The importer’s statement should be sufficiently detailed and include proof that the goods were not
produced, wholly or in part, with forced labor.

Additional Information/Action Requested of Importer:

Provide supply chain traceability documents pointing to the point of origin of the palm oil derivatives in
product. Affidavit from the palm oi] mill to identify parent company and the estate that sourced of the
raw material, i.e., oil palm trees that produce the fruit that is crushed for palm oil. Purchase Order,
Invoice, and Proof of Payment for the palm oil from the palm oi! mill and the estate that sourced the raw
materials. Production steps and records for the palm oil derivatives that identify the producer of the palm
oil, palm oil mill, and the refinery to include transportation documents from palm tree grower to palm oil
mill, and to the refinery.

Requested by (Date): May 08, 2021

Name of Detaining Officer: R. Broussard

CBP Point of Contact and Phone Number: R. Broussard at (510) 318-7020 option # 2.
Date of Conditional Release & Location of Goods: N/A

Additional Remarks: Documents may be submitted to CBP at Center of Excellence and
Expertise (CEE) or Port of San Francisco at OAK-Trade@cbp.dhs.gov

Shipments may be detained for up to 30 days, unless statutory authority or interagency agreement mandates that a
longer period of time is required, or the importer/broker requests a longer detention period through the Area/Port
Director.

Agreement to Redeliver Merchandise: If merchandise is released conditionally from CBP custody to the principal
before all required evidence is produced, before its quantity and value are determined, or before its right of
admission into the U. S. is determined, the principal agrees to redeliver timely, on demand by CBP, the merchandise
released if it fails to comply with the laws or regulations governing admission into the U.S. (19 CFR 113.62(c)(1)).
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1. Held for other agency? Yes] No

Name of Agency:
> Contiied Mai fic, DEPARTMENT OF HOMELAND SECURITY No. 1 7 5 0 9 0 8
3. Investigative Case No. DETENTION NOTICE AND CUSTODY
RECEIPT FOR
4, General Order No. _—- DETAINED PROPERTY
5. aes Command on Nothied’ Handbook §200-08
Date: Time:
6. oe ee9 7, Date of Detention (mmiddiyyyy) 8. Time (Use 24 Hours) 9. Entry Number ,
_ 62a, o8 acal /Za/ 308 - 3/0037 36
10. Detained from: 11. Seal or Other ID No.
“ARGENT GERBERA
Name: 12. Misc. Nos.

VIRTUS NUTRITION Lec
Address: 420 ZADUSTAZAL AVE 13.
CORE ORAM, CA TIAA eA MLAAGER AOS SD STA

(S) MLAAGER 2007 SD STB

Telephone No.
. 14. FPF No. (For DHS Lab Use Only}
{ DIO
Br PoEror ek of oF he information - ~ Send all corres i Beby-dis sp 16. ‘Subject Information/Action Request from Importer/Exporter!
Telephone Not (57%) sp) 318 -Yuaa Cex No.{ }

17. Reason for Detention:

PALM OZL AND f

18. Tests c or inguiise 10 be Conducted:

19. PROPERTY (By Line Item) Attach DHS Form 58 if conveyance

a. b. Description d. é, f.

Line Packages Measurement Est. Dom. Samples Sent to DHG Lab
item No. _ Number Type} ly. UM Value Date
gol | Renee er aces Mr {$4 Yes[_]NoL_]

609. | Farm ort. MT $ 155, see vs Nol | 4 7
$ Yes |_jNo [| / sf
$ YesL_|Nol_] / 1

20. Detaining Officer Name

| BRovssaah fore trex A. Let) Ba6T! Bony
Print Signature — Date

21. ACCEPTANCE/CHAIN OF CUSTODY -

a. b. Cc. d. 8.
Line Item Description Print Signature Date
No. Name/Tfitle/Organization

Shipments may be defained for up to 30 days, unless statutory authority or interagency agreement mandates that a longer period of
time is required, or the importer/exporter/subject requests a longer detention period through the Port Director.
DHS 6051A Continuation Sheat Attached? Yes] No(

Previous editions are obsolete

DHS Fort 6051D (08/09)
vw

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epee Detention Notice and Custody Receipt for Detained Property

BLOCK DESCRIPTIONS (Fill in all sections that apply)

1. Held for other agency

2. Certified Mail No.

3. Investigative Case No,

4. General Order No.

5. Exodus Command Center

6. Port Code

7. Date of Detention

&. Time

9. Entry No.

1G. Detained from

11. Seal or Other ID No.

12. Mise. Nos.

13. Remarks

14. FPF No.

15. Point of Contact Information
16. Additional information

17. Reason for Detention

18. Tests or Inquiries to be Conducted

19. Property
19a. Line em No.

19b. Description
19c. Packages

49d. Measurement
19e. Estimated Domestic Value
19f. Samples Sent to Lab

20. Detaining Officer Name

21. Acceptance/Chain of Custody
21a. Line Item No.

2 1b. Description
Zic. Print Name

21d. Signature
216. Date

Enter an "X" in the appropriate box to indicate yes or no. If yes, provide
agency name.

Enter number from Post Office receipt.

Enter Ol Investigative Case Number or IA File Number Only.

Enter the 15 digit General Order Number.

Enter an “X" on the appropriate box to indicate yes or no. If yes, provide
date and time. (Export detentions only)

Enter the Port Code.

Enter date of detention in month/day/year.

Enter time of incident in 24-hour format (e.g. 1600).

Enter the Entry Number.

Enter the name, address and telephone number of the person whose
property has been detained.

Enter Baggage Claim Number, Evidence Bag Number, DHS seal, or any
other identification attached to the property.

Enter other agency case number, for example.

Enter any remarks which may be relevant or which may be of assistance
in storing or maintaining the property. Reference any previous DHS
6057D number.

Enter the FPF Number. (For DHS Lab Use Only)

Enter the local CBP office, SAIC, Port, or FPF address and

telephone number, as appropriate.

Enter the information and/or action request from party-in-interest.

Enter explanation of why the item(s) is/are being detained.

Enter the process being conducted to determine If item(s} is/are in
violation.

Enter information in items 19a through 19f.

Enter group items by tariff number or SEACATS category code. Line
item number corresponds to the line item number in SEACATS.

‘ Enter brief description of detained item.

Enter the number and type of packaging containing the property.

(e.g. BX=box, BA=bale, EN=envelope)

The block contains the quantity of the detained item given in

the units of measure entered in the Unit of Measurement block.

For NARCOTICS, the net weight is entered.

Enter the estimated domestic value of the item seized.

Enter an “X” in the box to determine if a sample was sent to the DHS
Lab and list the date sent.

Enter printed name of detaining officer, sign and date (first officer taking
custody of the property). This initiates the Chain of Custody for all items
described in Block 19. Signature is for ALL line items, including any
DHS 6051A continuation sheet(s),

Enter the line item number(s) from Block 19 being accepted.

(e.g. 1,2,3 and 5; or 1-3, 5}

Enter item(s) being accepted. The word “ALL" or equivalent is NOT
acceptable.

Enter the name/stitle/organization of the individual accepting custody of
item(s}.

Have individual accepting custody of item(s) sign in this block.

Enter date custody Is accepted.

DHS Form 60571D (08/09)
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COMPLAINT EXHIBIT B
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535 Battery Street
San Francisco, CA 94111

i nae ; \ U.S. Customs and
ey Border Protecti
March 23, 2021 Nie, tection

Virtus Nutrition, LLC
520 Industrial Ave.
Corcoran, CA 93212-9629

Dear Virtus Nutrition:

This notification is being sent pursuant to 19 C. F.R § 12.44(a) to advise that U.S. Customs and
Border Protection, Area Port of San Francisco, Oakland Seaport, has determined that the below
listed merchandise is under the purview of 19 U.S.C. 1307 resulting in a decision to exclude the
shipment from entry into the United States.

Article Denied Entry: Palm Fatty Acid Distillate and Palm Stearin
Quantity: 1,999.300 MT (Palm Distillate) and 499.583 MT (Palm Stearin)
Vessel: M/T Argent Gerbera #2009

Bill of Lading: MLAAGER2009SDSTA and MLAAGER2009SDSTB
Entry Number: 808-21003730

Date of Denial of Entry: February 8, 2021

The petition that you submitted on February 9, 2021, requesting that CBP either revoke or
modify the Withhold Release Order (WRO) provided insufficient information to deem the
merchandise admissible.

You have 60 days from the date of this letter to export the subject merchandise from the United
States under CBP supervision in accordance with 19 C.F.R.§ 18,25 — 18.27. Ifthe merchandise
is not exported within 60 days, it will be disposed of under CBP supervision.

You are hereby notified that any future attempt to import such articles may result in the articles
being seized and forfeited.

Thank you for your continued cooperation. If we may offer further guidance, please contact
Vanessa Butler, Supervisory CBPO at (510) 318-7020 option #2.

Sincerely,

San Francisco, California
